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                           UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                           )  CHAPTER 13
                                           )
 IN RE                                     )  CASE NO.: 20-11598-MDC
                                           )
       COLEMAN A GREEN,                    )
                             Debtor        )
 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ )
 CAPITAL ONE AUTO FINANCE,                 )
 A DIVISION OF CAPITAL ONE, N.A.,          )  HEARING DATE:
                             Movant        )  Tuesday, July 21, 2020
                 vs.                       )  10:30 A.M.
                                           )
 COLEMAN A GREEN,                          )
                             Respondent(s) )
            and                            )
                                           )  LOCATION:
 WILLIAM C. MILLER, ESQ.                   )  United States Bankruptcy Court 900
                             Trustee       )  Market Street
                                           )  Courtroom No. 2
                                           )  Philadelphia, PA 19107
                                           )
                     MOTION FOR RELIEF FROM AUTOMATIC STAY

       AND NOW, comes the above-captioned Movant, Capital One Auto Finance, a division of Capital

 One, N.A., by and through their attorney, Jason Brett Schwartz, Esquire, who files this Motion based
 upon the following:

       1.     The Movant is a corporation having a principal place of business located at 7933 Preston
 Road, Plano, T X 75024.

       2.     The Respondent, Coleman A Green is an individual with a mailing address at 1113 Stewart

 Place, Philadelphia, PA 19116, who has filed a Petition under Chapter 13 of the Bankruptcy Code.

       3.     On or about July 05, 2019, Debtor Coleman A Green entered into a Retail Installment

 Sales Contract, involving a loan in the amount of $20,970.00 for the purchase of a 2017 FORD

 T RUCK Escape Utility 4D SE 2WD.

       4.     The vehicle secured by the Contract has V.I.N. 1FMCU0GD3HUB08803.
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       5.     Movant is the assignee of the Contract.

       6.     The above ‒ described vehicle is encumbered by a lien with a payoff in the amount of

 $21,244.28 plus other appropriate charges as of June 19, 2020 but subject to change. The regular
 monthly payment is $478.28 at an interest rate of 18.00%.

       7.      Applying payments received to the earliest payment due, payments have been missed post-

 petition, since April 04, 2020 in the amount of $1,434.84, plus all applicable late charges, interest,
 attorneys' fees and costs plus Pre-Petition Payments of $478.28.

       8.     The Property has a N.A.D.A. Value of $14,025.00.

       9.     The vehicle is not necessary to an effective reorganization.

       10.    The Movant is the only lienholder of record with regard to the vehicle.

       11.    In order to proceed with repossession of the vehicle, relief from the automatic stay must be

 obtained.

       12.    Failure to make adequate protection payments is cause for relief from the automatic stay.

       13.    The Movant has incurred attorney's fees in the filing of this Motion.

       14.    The vehicle is a rapidly depreciating asset. Movant requests the waiver of Rule 4001(a)(3).
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       WHEREFORE, Movant prays for your Honorable Court to enter an Order permitting the Movant

 to proceed with the repossession proceedings of the aforementioned vehicle.

                                                     Respectfully submitted,
                                                     Mester & Schwartz, P.C.
                                                     /s/ Jason Brett Schwartz
                                                     Jason Brett Schwartz, Esquire
                                                     Attorney for Movant
                                                     1917 Brown Street
                                                     Philadelphia, PA 19130
                                                     (267) 909-9036
